Case 3:21-cv-00186-E Document 1-2 Filed 01/28/21   Page 1 of 25 PageID 7




                EXHIBIT 1




                                                         Exhibit 1
1/28/2021                                                                  Details
               Case 3:21-cv-00186-E Document 1-2 Filed 01/28/21                      Page 2 of 25 PageID 8




            Case Information

            DC-20-19299 | DORMA GIPSON vs. THE KROGERS CO.

            Case Number                             Court                            Judicial Officer
            DC-20-19299                             134th District Court             TILLERY, DALE
            File Date                               Case Type                        Case Status
            12/31/2020                              PROPERTY                         OPEN




            Party

            PLAINTIFF                                                                Active Attorneys 
            GIPSON, DORMA                                                            Lead Attorney
            Address                                                                  CATO-MILLER, ANNETTE
            9730 Shepherd Road Apt 449                                               Retained
            Dallas TX 75243




            DEFENDANT
            THE KROGERS CO.

              Aliases
              AKA KROGER TEXAS LP
            Address
            BY SERVING ITS REGISTERED AGENT CORPORATION SERVICE
            COMPANY
            DBA CSC-LAWYERS INCORPORATING SERVICE COMPANY
            211 E 7TH ST STE 620
            AUSTIN TX 78701-3218




https://courtsportal.dallascounty.org/DALLASPROD/Home/WorkspaceMode?p=0                                      1/4
1/28/2021                                                                 Details
             Case 3:21-cv-00186-E
            Events and Hearings Document 1-2 Filed 01/28/21                         Page 3 of 25 PageID 9


               12/31/2020 NEW CASE FILED (OCA) - CIVIL


               12/31/2020 ORIGINAL PETITION 


               ORIGINAL PETITION


               12/31/2020 ISSUE CITATION 


               ISSUE CITATION - THE KROGER CO. AKA KROGER TEXAS L.P.

               ISSUE CITATION - THE KROGER CO. AKA KROGER TEXAS L.P.

                  Comment
                  FIRST AMENDED PLAINTIFF'S ORIGINAL PETITION AND REQUEST FOR DISCLOSURE


               01/05/2021 AMENDED PETITION 


               FIRST AMENDED PETITION

                  Comment
                  FIRST AMENDED


               01/06/2021 NOTICE OF DISMISSAL FOR WANT OF PROSECUTION 


               NOTICE OF DISMISSAL FOR WANT OF PROSECUTION


               01/07/2021 CITATION 


               Unserved

               Anticipated Server
               ESERVE

               Anticipated Method
               Comment
               THE KROGER CO. AKA KROGER TEXAS L.P.


               01/20/2021 CITATION 


               Unserved

               Anticipated Server
               ESERVE

               Anticipated Method
               Comment
               THE KROGER CO. AKA KROGER TEXAS L.P.


               01/28/2021 ORIGINAL ANSWER - GENERAL DENIAL 


               ORIGINAL ANSWER - THE KROGERS CO. AKA KROGER TEXAS L.P.



https://courtsportal.dallascounty.org/DALLASPROD/Home/WorkspaceMode?p=0                                     2/4
1/28/2021                                                                 Details
              Case 3:21-cv-00186-E Document 1-2 Filed 01/28/21                        Page 4 of 25 PageID 10
               03/12/2021 DISMISSAL FOR WANT OF PROSECUTION 


               134thDWOP-Rule 165A Letter

               Judicial Officer
               TILLERY, DALE

               Hearing Time
               10:00 AM




            Financial

            GIPSON, DORMA
                   Total Financial Assessment                                                          $300.00
                   Total Payments and Credits                                                          $300.00


              12/31/2020      Transaction Assessment                                                  $300.00

              12/31/2020      CREDIT CARD - TEXFILE           Receipt # 81426-2020-     GIPSON,      ($300.00)
                              (DC)                            DCLK                      DORMA




            Documents


               ORIGINAL PETITION

               FIRST AMENDED PETITION
               134thDWOP-Rule 165A Letter

               ISSUE CITATION - THE KROGER CO. AKA KROGER TEXAS L.P.
               NOTICE OF DISMISSAL FOR WANT OF PROSECUTION

               ISSUE CITATION - THE KROGER CO. AKA KROGER TEXAS L.P.

               ORIGINAL ANSWER - THE KROGERS CO. AKA KROGER TEXAS L.P.




https://courtsportal.dallascounty.org/DALLASPROD/Home/WorkspaceMode?p=0                                          3/4
1/28/2021                                                                 Details
              Case 3:21-cv-00186-E Document 1-2 Filed 01/28/21                      Page 5 of 25 PageID 11




https://courtsportal.dallascounty.org/DALLASPROD/Home/WorkspaceMode?p=0                                      4/4
Case 3:21-cv-00186-E Document 1-2 Filed 01/28/21   Page 6 of 25 PageID 12




                EXHIBIT 2




                                                          Exhibit 2
                                                                                                                               FILED
                                                                                                                  12/31/2020 11:49 AM
1   CIT-ESERVE                                                                                                        FELICIA PITRE
            Case 3:21-cv-00186-E Document 1-2 Filed 01/28/21                   Page 7 of 25 PageID 13               DISTRICT CLERK
                                                                                                                 DALLAS CO., TEXAS
                                                                                                          Christi Undewvood DEPUTY
                                                     Dc—2o-1 9299
                                        Cause No.

        DORMA GIPSON                                    §               1N   THE DISTRICT COURT
                Plaintiff                               §
        vs.                                             §               DALLAS COUNTY, TEXAS
                                                        §
        THE KROGERS co. AKA
        KROGER TEXAS L.P.                               §
                 Defendant                              §
                                                                      G-1 34    JUDICIAL DISTRICT


                PLAINTIFF'S ORIGINAL PETITION AND REQUEST FOR DISCLOSURE
                 Comes now DORMA GIPSON, hereinafter referred to as “Plaintiff,” and makes and les
        this Original Petition and Request for Disclosure, complaining of and about,      THE KROGER CO.
        AKA KROGER TEXAS L.P. hereinafter referred to as “Defendant or Kroger,” and for cause of
        action shows unto the Court the following:

                                                            L
                 1.      Pursuant to Rule 190.3, Tex. R. Civ. P., discovery shall be conducted under Level

                 2. The parties expect to submit an agreed docket control order for the orderly disposition

                 of this litigation.
                                                            L
                 3.      Plaintiff is a resident of Dallas County, TeXas.
                 4.      Defendant     THE KROGER CO. AKA KROGER TEXAS L.P., is                  a foreign for-

        prot   corporation doing business in the State of Texas including Dallas County. Service ofprocess

        regarding this lawsuit may be made on its’ registered agent of process:

                 Corporation Service Company dba CSC-Lawyers Incorporating Service Company
                 211 E. 7‘“ Street, Suite 620
                 Austin, Texas 78701-3218

                                          III.   JURISDICTION AND VENUE
                 5.      The subject matter in controversy is within the jurisdictional limits of this court.
                 6.      This court has jurisdiction over the parties because Plaintiff is a Texas resident.
                 7.      Venue in Dallas County is proper in this cause under § 15.002(a)(1), Tex. Civ. Prac.
        & Rem. Code, because all or a substantial part ofthe events or omissions giving rise to this lawsuit
         occurred in this county.




         PLAINTIFF'§ QRIQINAL PETITION AND REQU§§T FQR DISCLOSURE - Page l
   Case 3:21-cv-00186-E Document 1-2 Filed 01/28/21                  Page 8 of 25 PageID 14




                                             IV. FACTS
        8.        On January 5, 201 9, Dorma Gipson was walking through the West side entrance
into the Kroger Grocery Store #588 at 9140 Forest Lane, when the sliding entrance door
malfunctioned and slammed into her body, causing her injury and immediate pain. The
Defendant owns the Kroger grocery store #588 at 9140 Forest Lane, Dallas, Texas. As a result
of the door slamming into her body, she fell to the oor.    Ms. Gipson suffered injuries to her right
shoulder, right forearm and wrist. Defendant KROGER, and their agents, servants, and

employees knew or in the exercise of ordinary care, should have known the dangerous condition
with the entrance doors existed. This incident caused severe injuries to Plaintiff. Defendant
owed Plaintiff the duties to exercise ordinary care and to protect and safeguard Plaintiff and

others from unreasonably dangerous and unsafe conditions.



                                        V. PREMISE CLAIM
        9.        Plaintiff was a business invitee and was entering onto Defendant’s premises in
response to Defendant’s invitation and for their mutual benet.         A   condition on Defendant’s

premises posed an unreasonable risk. Defendant knew or reasonably should have known of the
dangerous condition of the malfunctioning     of the entrance doors. Defendant knew or should have
known to keep the doors properly functioning so that they would not create a dangerous condition
for its business invitees, i.e., slamming into customers such as the Plaintiff. Defendant had a duty
to use ordinary care to ensure that the premises did not present a danger to. Plaintiff. Defendant

allowed or created the area to become dangerous and permitted such danger to exist. Piaintiff
further alleges that the condition in the area had continued for such a time that it would have been

remedied     if Defendant had exercised ordinary care in the maintenance and repair of the entrance
doors. This duty includes the duty to inspect and the duty to warn or to cure. Defendant’s breach

of duty, both individually   and severally, proximately caused injury to Plaintiff, which resulted in

injury to her body, particularly the right shoulder, right forearm, and wrist. As a result, Plaintiff
has incurred medical bills and endured pain and suffering, for which she seeks damages within the

jurisdictional limits of this Court.




PLAINTIFF'S ORIGINAL PETITION ABE REQUEST FOR DlSCLOSURE - Page 2
   Case 3:21-cv-00186-E Document 1-2 Filed 01/28/21                       Page 9 of 25 PageID 15


                                        VI. NEGLIGENCE
        10.     In the alternative, Plaintiff’s injuries were the result of Defendant’s ongoing

negligence on the premises at the location of the injury, not a condition of the premises.
Defendant’s negligence includes that it allowed a dangerous condition (malfunctioning door) to
occur and exist, by failing to use ordinary care in maintaining or repairing the entrance doors in
the store entryway. Defendant owed a legal duty to Plaintiff. Defendant breached the duty to

Plaintiff by:
        a.      Failing to maintain or repair the doors to the entry premises to a safe condition by
                inspecting the door for any dangerous conditions and repairing it; and
        b.      Failing to make safe any latent defect or give warning of any defect.

Defendant’s breach of duty proximately caused injury to Plaintiff, which resulted in injury to her

body generally, as described herein. As a result, Plaintiff has incurred medical bills and endured
pain and suffering, for which she seeks damages within the jurisdictional limits of this Court.


                                 VII. RESPONDEAT SUPERIOR
        l l.    Defendant KROGER and its agents, servants, and employees, who were at all times

acting in the course and scope of their employment, were guilty of negligence toward Plainti‘     by:
        a.      Maintaining an unreasonably dangerous condition;

        b.      Failing to maintain reasonably safe premises;

        c.      Failing to inspect the premises in order to discover the dangerous condition of the
                entry door on Defendants’ premises;

        d.      Failing to correct the dangerous condition which was created; and

        e.      Failing to adequately warn invitees, including Plaintiff, that a dangerous condition
                existed.


                                               VIII.
        12.     Plaintiff alleges that each and every, all and singular, of the aforementioned acts
and/or omissions on the partof the Defendant and its agents, servants, and employees constitute
negligence which was and is the direct and proximate cause of the injuries sustained by Plaintiff
hereinafter set out.




PLAINTIFF'S ORIGINAL BE! ITIQN AND REQUEST FOR DISCLOSURE   -—
                                                                 Page 3
  Case 3:21-cv-00186-E Document 1-2 Filed 01/28/21                   Page 10 of 25 PageID 16




                                          IX. DAMAGES
        13.     Plaintiff would show that, as a direct result of the negligence of Defendant and its
agents, employees, and servants, Plaintiffwas caused to suffer serious personal injuries to her body

generally. As a direct and proximate result of the fall and the aforesaid negligence of Defendant,
Plaintiff has incurred the following damages:

       a.       Reasonable and necessary medical expenses in the past;

       b.       Physical pain suffered in the past; and

       c.       Physical pain which, in all reasonable probability, will be suffered in the future.

                                 X. REQUEST FOR DISCLOSURE
        14.     Under the Tex. R. Civ. P. 194, Defendant        KROGERS is     requested to disclose
within fty    (50) days of service of this request, the information or material described in Tex. R.
Civ. P. 194.2(a) through (l).


                                        XI. JURY DEMAND
        15.     Plaintiff hereby demands a jury trial.

      WHEREFORE, PREMISES CONSIDERED, Plaintiff DORMA GIPSON requests that
Defendant KROGER be served with citation and, upon nal trial of this case, the Court grant

Plaintiffjudgement against Defendant for the following:

       a.       Actual damages against Defendant for a sum within the jurisdictional limits of
                this Court;

       b.       Pre- and post-judgement interest at the maximum rate allowed at law;

       c.       Court costs; and


       d.       Such other and further relief to which Plaintiff may show herselfj ustly entitled, at
                law or in equity.


                                                  Respectfully submitted,
                                                   /s/Annette Cato-Miller



PLAIE ! WF'§ QRIGINAL PETlTlON AND EE      FOR DISCLOSURE - Page 4
  Case 3:21-cv-00186-E Document 1-2 Filed 01/28/21                  Page 11 of 25 PageID 17


                                                   ANNETTE CATO-MILLER
                                                   State Bar No. 0401 1525
                                                   Law Ofces  of Cato-Miller,
                                                   Darensburg & Associates
                                                   11882 Greenville Avenue, Suite B101
                                                   Dallas, TX 75243
                                                   (972) 270-1896
                                                   (972) 68 1 -9334 Telecopier
                                                   cmiller law@yahoo.com
                                                   litigation@cmdlawvers.net

                                                   ATTORNEY FOR PLAINTIFF
                                                   DORMA GIPSON




PLAINTIFF'S ORIQMAL PETITION AND REQUEST F93 DI§§§LQSURE — Page 5
Case 3:21-cv-00186-E Document 1-2 Filed 01/28/21   Page 12 of 25 PageID 18




                 EXHIBIT 3




                                                          Exhibit 3
                                                                                                                    FILED
                                                                                                          1/5/2021 5:32 PM
                                                                                                            FELICIA PITRE
    Case 3:21-cv-00186-E Document 1-2 Filed 01/28/21                  Page 13 of 25 PageID 19            DISTRICT CLERK
                                                                                                       DALLAS CO., TEXAS
                                                                                                    Carmen Moorer DEPUTY


                                       Cause No. DC-20—19299

DORMA GIPSON                                    §               1N   THE DISTRICT COURT
        Plaintiff                               §
Vs.                                             §
                                                §               DALLAS COUNTY, TEXAS
THE KROGERS C0. AKA
KROGER TEXAS LP.                                §
        Defendant                               §               134T”   JUDICIAL DISTRICT


       FIRST AMENDED PLAINTIFF'S ORIGINAL PETITION AND REQUEST FOR
                                           DISCLOSURE

        Comes now DORMA GIPSON, hereinafter referred to as “Plaintiff,” and makes and les
this Original Petition and Request for Disclosure, complaining of and about,      THE KROGER CO.
AKA KROGER TEXAS L.P. hereinafter referred to as “Defendant or Kroger,” and for cause of
action shows unto the Court the following:

                                                    L
        1.      Pursuant to Rule 190.3, Tex. R. Civ. P., discovery shall be conducted under Level

        2. The parties expect to submit an agreed docket control order for the orderly disposition

        of this litigation.
                                                    L
        3.      Plaintiff is a resident of Dallas County, Texas.
        4.      Defendant     THE KROGER CO. AKA KROGER TEXAS L.P., is                  a foreign for-

prot   corporation doing business in the State ofTexas including Dallas County. Service ofprocess

regarding this lawsuit may be made on its’ registered agent of process:

         Corporation Service Company dba CSC-Lawyers Incorporating Service Company
         211 E. 7th Street, Suite 620
         Austin, Texas 78701-3218

                                 III. JURISDICTION AND       VENUE
        5.      The subj ect matter in controversy is within the jurisdictional limits of this court.
        6.      This court has jurisdiction over the parties because Plaintiff is a Texas resident.
        7.      Venue in Dallas County is proper in this cause under § 15.002(a)(l), Tex. Civ. Prac.
& Rem. Code, because all or a substantial part ofthe events or omissions giving rise to this lawsuit
occurred in this county.



P       F '                       RE   E   F R DISCLOSURE— Page l
   Case 3:21-cv-00186-E Document 1-2 Filed 01/28/21                    Page 14 of 25 PageID 20




                                              IV. FACTS
        8.        On January 5, 2019, Dorma Gipson was walking through the west side entrance
into the Kroger Grocery Store #588 at 9140 Forest Lane, when the sliding entrance door
malfunctioned and slammed into her body, causing her injury and immediate pain. The
Defendant owns the Kroger grocery store #588 at 9140 Forest Lane, Dallas, fexas. As a result
of the door slamming into her body;    she fell to the oor.   Ms. Gipson suffered injuries to her right

shoulder, right forearm and wrist. Defendant    KROGER, and their agents, servants, and
employees knew or in the exercise of ordinary care, should have known the dangerous condition
with the entrance doors existed. This incident caused severe injuries to Plaintiff. Defendant
owed Plaintiff the duties to exercise ordinary care and to protect and safeguard Plaintiff and

others from unreasonably dangerous and unsafe conditions.



                                        V. PREMISE CLAIM
        9.        Plaintiff was a business invitee and was entering onto Defendant’s premises in
response to Defendant’s invitation and for their mutual benet.           A   condition on Defendant’s

premises posed an unreasonable risk. Defendant knew or reasonably should have known              of the
dangerous condition of the malfunctioning     of the entrance doors. Defendant knew or should have
known to keep the doors properly functioning so that they would not create a dangerous condition
for its business invitees, i.e., slamming into customers such as the Plaintiff. Defendant had a duty
to use ordinary care to ensure that the premises did not present a danger to Plaintiff. Defendant

allowed or created the area to become dangerous and permitted such danger to exist. Plaintiff
further alleges that the condition in the area had continued for such a time that it would have been

remedied     if Defendant had exercised ordinary care in the maintenance and repair of the entrance
doors. This duty includes the duty to inspect and the duty to warn or to cure. Defendant’s breach

of duty, both individually and severally, proximately caused injury to Plaintiff, which resulted in
injury to her body, particularly the right shoulder, right forearm, and wrist. As a result, Plaintiff
has incurred medical bills and endured pain and suffering, for which she seeks damages within the

jurisdictional limits of this Court.




PLAIE'HE F'§ QRIQINAL PETITIQN AND REQUES! FOR DISCLOSURE — Page 2
  Case 3:21-cv-00186-E Document 1-2 Filed 01/28/21                          Page 15 of 25 PageID 21


                                             VI. NEGLIGENCE
         10.          In the alternative, Plaintiff’s injuries were the result    of Defendant’s ongoing
negligence on the premises at the location of the injury, not a                 condition of the premises.
Defendant’s negligence includes that it allowed a dangerous condition (malfunctioning door) to
occur and exist, by failing to use ordinary care in maintaining or repairing the entrance doors in
the store entryway. Defendant owed a legal duty to Plaintiff. Defendant breached the duty to

Plaintiff by:
        a.           Failing to maintain or repair the doors to the entry premises to a safe condition by
                     inspecting the door for any dangerous conditions and repairing it; and
        b.           Failing to make safe any latent defect or give warning of any defect.

Defendant’s breach of duty proximately caused injury to Plaintiff, which resulted in injury to her

body generally, as described herein. As a result, Plaintiffhas incurred medical bills and endured
pain and suffering, for which she seeks damages within the jurisdictional limits of this Court.


                                       VII. RESPONDEA T SUPERIOR
         1   1.      Defendant KROGER and its agents, servants, and employees, who were at all times

acting in the course and scope of their employment, were guilty of negligence toward Plaintiffby:
        a.           Maintaining an unreasonably dangerous condition;

        b.           Failing to maintain reasonably safe premises;

        c.           Failing to inspect the premises in order to discover the dangerous condition of the
                     entry door on Defendants’ premises;

        d.           Failing to correct the dangerous condition which was created; and

        e.           Failing to adequately warn invitees, including Plaintiff, that a dangerous condition
                     existed.                                               “




                                                     VIII
         12.         Plaintiff alleges that each and every, all and singular, of the aforementioned acts
and/or omissions on the part        of the Defendant   and its agents, servants, and employees constitute

negligence which was and is the direct and proximate cause of the injuries sustained by Plaintiff
hereinaer         set out.




PLél   [IFF'§ QRIQINAL PETITION AND REQUEST FOR Discm§g        —
                                                                   Page 3
  Case 3:21-cv-00186-E Document 1-2 Filed 01/28/21                   Page 16 of 25 PageID 22




                                           IX. DAMAGES
        13.     Plaintiff would show that, as a direct result of the negligence of Defendant and its
agents, employees, and servants, Plaintiffwas caused to suffer serious personal injuries to her body

generally. As a direct and proximate result of the fall and the aforesaid negligence of Defendant,
Plaintiff has incurred the following damages:

        a.      Reasonable and necessary medical expenses in the past;

       b.       Physical pain suffered in the past; and

        c.      Physical pain which, in all reasonable probability, will be suffered in the ature.

                                X. RE UEST FOR DISCLOSURE
        14.     Under the Tex. R. Civ. P. 194, Defendant       KROGERS is       requested to disclose
within fty    (50) days of service of this request, the information or material described in Tex. R.
Civ. P. 194.2(a) through (1).


                                        XI. JURY DEMAND
        15.     Plaintiff hereby demands a jury trial.

      WHEREFORE, PREMISES CONSIDERED, Plaintiff DORMA GIPSON requests that
Defendant KROGER be served with citation and, upon nal trial of this case, the Court grant

Plaintiffjudgement against Defendant for the following:

       a.       Actual damages against Defendant for $500,000.00, a sum within the
                jurisdictional limits of this Court;

       b.       Pre- and post-judgement interest at the maximum rate allowed at law;

       c.       Court costs; and


       d.       Such other and further relief to which Plaintiff may show herselfjustly entitled, at
                law or in equity.


                                                  Respectfully submitted,
                                                   /s/Annette Cato-Miller
  Case 3:21-cv-00186-E Document 1-2 Filed 01/28/21                      Page 17 of 25 PageID 23


                                                    ANNETTE CATO-MILLER
                                                     State Bar No. 0401 1 525
                                                     Law Ofces  of Cato-Miller,
                                                     Darensburg & Associates
                                                     11882 Greenville Avenue, Suite B101
                                                     Dallas, TX 75243
                                                     (972) 270-1 896
                                                     (972) 681-9334 Telecopier
                                                     cmi11e1j__1awaits/3110000111
                                                     litiQationicmdlawvers.net

                                                    ATTORNEY FOR PLAINTIFF
                                                    DORMA GIPSON




PLAINTEEFE QEIQIEAL 2E! I l LQE AED REQQEST FOR DI§CLOSURE — Page 5
       Case 3:21-cv-00186-E Document 1-2 Filed 01/28/21                Page 18 of 25 PageID 24
                         Automated Certificate of eService
This automated certificate of service was created by the efiling system.
The filer served this document via email generated by the efiling system
on the date and to the persons listed below. The rules governing
certificates of service have not changed. Filers must still provide a
certificate of service that complies with all applicable rules.

Darlene Darensburg on behalf of Annette Cato-Miller
Bar No. 0401 1525
darlenedarensburg@yahoo.com
Envelope ID: 49426043
Status as of 1/6/2021 1:04 PM CST

Associated Case Party: DORMA GIPSON

Name                  BarNumber   Email                       Timestam pSubmitted   Status

Krystal Armstead                  litigation@cmdlawyers.net   1/5/2021 5:32:26 PM   SENT
Annette Cato-Miller               litigation@cmdlawyers.net   1/5/2021 5:32:26 PM   SENT
Case 3:21-cv-00186-E Document 1-2 Filed 01/28/21   Page 19 of 25 PageID 25




                 EXHIBIT 4




                                                          Exhibit 4
                                                                                                                 FILED
                                                                                                    1/28/2021 11:11 AM
                                                                                                        FELICIA PITRE
  Case 3:21-cv-00186-E Document 1-2 Filed 01/28/21                 Page 20 of 25 PageID       26 DISTRICT CLERK
                                                                                                  DALLAS CO., TEXAS
                                                                                               Eduardo Suarez DEPUTY


                                     CAUSE NO. DC-20-19299

DORMA GIPSON,                                   §           IN THE DISTRICT COURT
     Plaintiff,                                 §
                                                §
vs.                                             §           DALLAS COUNTY, TEXAS
                                                §
THE KROGERS CO. AKA                             §
KROGER TEXAS L.P.                               §
      Defendant                                 §           134th JUDICIAL DISTRICT

         DEFENDANT THE KROGERS CO. AKA KROGER TEXAS L.P.’S ORIGINAL ANSWER

        Defendant Kroger Texas L.P. (erroneously identified as “The Krogers Co. aka Kroger

Texas, L.P.”) files its Original Answer, respectfully showing the Court as follows:

                                                I.
                                         VERIFIED DENIAL

        By way of verified denial pursuant to Texas Rule of Civil Procedure 94, Defendant denies

that Plaintiff is entitled to recover from Defendant in the capacity in which it has been sued.

Specifically, Defendant denies “The Krogers Co. aka Kroger Texas, L.P.” owned or operated the

store at issue on the date of this incident. Consequently, Plaintiff has no right or potential right

of recovery against Defendant because the proper party has not been sued. See, e.g., Bailey v.

Vanscot Concrete Co., 894 S.W.2d 757, 759 (Tex. 1995).

                                               II.
                                         GENERAL DENIAL

        Defendant denies each and every, all and singular, the material allegations contained in

Plaintiff’s Original Petition, demands strict proof thereof and, to the extent that such matters

are questions of fact, says Plaintiff should prove such facts by a preponderance of the evidence

to a jury if she can so do.




DEFENDANT’S ORIGINAL ANSWER                                                                   Page 1
  Case 3:21-cv-00186-E Document 1-2 Filed 01/28/21                Page 21 of 25 PageID 27



                                               III.
                                            DEFENSES

         1.    Defendant had neither actual nor constructive knowledge of the condition about

which Plaintiff complains, and further asserts that, in any event, the alleged hazard was not

“unreasonably dangerous.”

         2.    Pleading in the alternative, Defendant provided adequate warning of the

condition at issue.

         3.    The alleged premises condition of which Plaintiff complains was already

appreciated by Plaintiff, was open and obvious, was not concealed, and/or was a known risk

and, therefore, Defendant denies that it owed any duty to warn Plaintiff of the alleged premises

condition or protect Plaintiff from same. Austin v. Kroger Texas L.P., 465 S.W.3d 193, 203 (Tex.

2015).

         4.    Plaintiff failed to use that degree of care and caution that would have been used

by a reasonable person under the same or similar circumstances, thereby producing or

proximately causing or contributing to cause Plaintiff’s injuries and damages, if any. Such acts

or omissions of Plaintiff were the sole and/or a producing and/or a proximate and/or a

supervening and/or an intervening cause of Plaintiff’s damages or injuries, if any.

         5.    In the alternative, the accident complained of was an unavoidable accident, as

that term is defined under Texas law.

         6.    Defendant respectfully requests that the factfinder allocate responsibility, if any,

among all parties, settling parties, and responsible third parties, in accordance with Chapters 32

and 33 of the Texas Civil Practice and Remedies Code.




DEFENDANT’S ORIGINAL ANSWER                                                                  Page 2
  Case 3:21-cv-00186-E Document 1-2 Filed 01/28/21                 Page 22 of 25 PageID 28



      7.       In the unlikely event an adverse judgment is rendered against Defendant in this

matter, Defendant respectfully prays for contribution, indemnity and/or all available credits as

provided for in the Texas Civil Practice and Remedies Code and under Texas law.

      8.       To the extent the damages about which Plaintiff complains, if any, were the

result of prior or pre-existing or subsequent injuries, accidents or conditions, said prior or pre-

existing or subsequent injuries, accidents or conditions were the sole and/or a contributing

cause of Plaintiff’s damages alleged against Defendant.

      9.       Plaintiff may have breached her duty to mitigate damages by failing to exercise

reasonable care and diligence to avoid loss and minimize the consequences of damages.

      10.      To the extent that Plaintiff is malingering and/or exaggerating the nature and

severity of her injuries in order to continue treatment, said treatment is not medically

necessary or reasonable.

      11.      Any claims for medical or health care expenses incurred are limited to the

amount actually paid or incurred by or on behalf of Plaintiff, pursuant to Texas Civil Practice and

Remedies Code §41.0105.

      12.      Pursuant to Texas Civil Practice & Remedies Code § 18.091, to the extent that

Plaintiff is seeking a recovery for loss of earnings, lost wages, loss of earning capacity and/or

loss of contributions of pecuniary value, evidence of such alleged losses must be presented by

Plaintiff in the form of a net loss after reduction for income tax payments, or unpaid tax liability

to any federal income tax law.




DEFENDANT’S ORIGINAL ANSWER                                                                   Page 3
  Case 3:21-cv-00186-E Document 1-2 Filed 01/28/21                   Page 23 of 25 PageID 29



                                                IV.
                                              PRAYER

       WHEREFORE, PREMISES CONSIDERED, Defendant Kroger Texas L.P. (erroneously

identified as “The Krogers Co. aka Kroger Texas, L.P.”) respectfully prays that Plaintiff take

nothing by this cause of action and that Defendant be permitted to recover the costs expended

on its behalf. Defendant also prays for all other and further relief, both general and special, at

law and in equity, to which it shows itself to be justly entitled.

                                               Respectfully submitted,
                                                /s/ Jack Ormond
                                               B. Kyle Briscoe
                                               State Bar No. 24069421
                                               kbriscoe@peavlerbriscoe.com
                                               Jack Ormond
                                               State Bar No. 24037217
                                               jormond@peavlerbriscoe.com
                                               PEAVLER|BRISCOE
                                               2215 Westgate Plaza
                                               Grapevine, Texas 76051
                                               214-999-0550 (telephone)
                                               214-999-0551 (fax)
                                               ATTORNEYS FOR DEFENDANT



                                     CERTIFICATE OF SERVICE

       I certify that this document was served on counsel of record in accordance with the
Texas Rules of Civil Procedure on January 28, 2020 via e-serve.
                                                /s/ Jack Ormond
                                               Jack Ormond




DEFENDANT’S ORIGINAL ANSWER                                                                 Page 4
Case 3:21-cv-00186-E Document 1-2 Filed 01/28/21   Page 24 of 25 PageID 30
       Case 3:21-cv-00186-E Document 1-2 Filed 01/28/21              Page 25 of 25 PageID 31
                         Automated Certificate of eService
This automated certificate of service was created by the efiling system.
The filer served this document via email generated by the efiling system
on the date and to the persons listed below. The rules governing
certificates of service have not changed. Filers must still provide a
certificate of service that complies with all applicable rules.

Jack Ormond on behalf of Jack Ormond
Bar No. 24037217
jormond@peavlerbriscoe.com
Envelope ID: 50122021
Status as of 1/28/2021 11:23 AM CST

Associated Case Party: DORMA GIPSON

Name                  BarNumber Email                        TimestampSubmitted   Status

Annette Cato-Miller              litigation@cmdlawyers.net   1/28/2021 11:11:58 AM SENT

Krystal Armstead                 litigation@cmdlawyers.net   1/28/2021 11:11:58 AM SENT



Case Contacts

Name            BarNumber Email                              TimestampSubmitted   Status

Francine Ly                 fly@dallascourts.org             1/28/2021 11:11:58 AM SENT

Jack Ormond                 jormond@peavlerbriscoe.com       1/28/2021 11:11:58 AM SENT

Mark Forester               mforester@peavlerbriscoe.com     1/28/2021 11:11:58 AM SENT

Kyle Briscoe                kbriscoe@peavlerbriscoe.com      1/28/2021 11:11:58 AM SENT

Liz Contreras               econtreras@peavlerbriscoe.com    1/28/2021 11:11:58 AM SENT
